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             VIA ECF AND HAND DELIVERY                         October 10, 2014


                                      Re:    Laydon v. Mizuho Bank, Ltd. et al., No. 12-cv-3419 (GBD)
                                             Letter from the European Commission


             The Honorable George B. Daniels
             United States District Court
             United States Courthouse
             500 Pearl Street, Room 630
             New York, New York 10007

             Dear Judge Daniels:

                     We are counsel to Defendant JPMorgan Chase & Co. and write to provide the Court
             with a copy of an October 8, 2014 letter received by JPMorgan from the European
             Commission regarding Plaintiff’s First Request for Production of Documents, which seeks
             (among other things) various documents received from and provided to the European
             Commission concerning Yen LIBOR and Euroyen TIBOR. We understand that certain
             other defendants also received such letters from the European Commission this week.

                     As reflected in the enclosed letter, the European Commission has expressed, among
             other things, its concern that “the disclosure of the requested documents would impair the
             effectiveness of the Commission’s powers of investigation.”

                                                              Very truly yours,

                                                              /s/ Thomas C. Rice
                                                              Thomas C. Rice



             Enclosure

             cc: Counsel of Record (VIA ECF)




BEIJING   HONG KONG      HOUSTON   LONDON   LOS ANGELES    PALO ALTO     S ÃO P A U L O   SEOUL   TOKYO WASHINGTON, D.C.
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                             EUROPEAN COMMISSION
                             DG Competition

                            Cartels
                            G-1


                                                             Brussels,         2014* D/20 14/097962
                                                             COMP/G-1/JK/mvk

                                                             JPMorgan Chase & Co.
                                                             270 Park Avenue
                                                             New York, NY 10017
                                                             U.S.A.

                                                             Via:
                                                             Freshfields Brockhaus Deringer LLP
                                                             Mr Nicolas French
                                                             Nicholas.french@freshfields.com



Subject:      Pending litigation before the US District Court for the Southern District
              of New York, in re Jeffrey Laydon v. Mizuho Bank, Ltd.; Case No. 12-cv-
              3419 (GBD)

Dear Sir I Madame,

You informed us of the discovery motion filed by the plaintiffs in the above referenced
litigation. In this motion, the plaintiffs ask that the Court orders the defendants, including
your company, to produce, among others:

    •   all requests for information received from the European Commission (hereinafter
        'the Commission') concerning the Yen-LIBOR and/or Euroyen TIBOR and their
        responses thereto,

    •   all documents produced to the Commission concerning the Yen-LIBOR and/or
        Euroyen TIBOR,

    •   all sworn statements or testimony provided to the Commission concerning the
        Yen-LIBOR and/or Euroyen TIBOR.

In the following text these materials are collectively referred to as 'the requested
documents'.

The purpose of this letter is to draw your attention to the fact that disclosure of any of the
requested documents would be made in contravention of Commission rules and stated
policy on this issue. The concerns in this case are particularly acute due to the ongoing
nature ofthe Commission's investigation in the Yen-LIBOR and Euroyen-TIBOR sector-


Commission europeenne, DG COMP GREFFE ANTITRUST, B-1049 Bruxelles, Belgique
Europese Commissie, DG COMP GREFFE ANTITRUST, B-1049 Brussel, Belgie
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Case AT.39861- Yen Interest Rate Derivatives (hereinafter 'YIRD investigation'). Please
note that this letter presents the position of the Commission services in this respect.

The requested materials contain information (i) of confidential nature, (ii) provided in the
context of the Commission's leniency programme, (iii) exchanged within the context of
the Commission's settlement procedure for cartel cases, and the Commission services'
concerns with respect to each of these categories are set out below.

Confidential information

As regards confidential information, Article 337 of the Treaty of the Functioning of the
European Union and Article 28 of Regulation 112003 obliges the Commission not to
disclose any confidential information that it receives in carrying out its duties. The
Commission is under the duty to ensure that confidential information it receives is not
disclosed to third parties. In this respect, I would also like to note that any disclosure of
confidential information may result in their potential liability towards the originators of
that confidential information.

Leniency information

Concerning information submitted under the leniency programme and other voluntarily
provided information, the Commission requires a high level of protection for information
that has been specifically prepared by the parties for voluntary submission to the
Commission. The Commission's leniency programme is a cornerstone of its cartel
detection and enforcement, which is often carried out in cooperation with public
authorities from jurisdictions around the world, including the United States Department
of Justice. Its optimal functioning requires that a party that comes forward and cooperates
with the Commission does not find itself worse-off vis-a-vis the non-cooperating cartel
members as a result of doing so. For this reason, the Commission has put in place
stringent rules to protect information that the Commission receives from cooperating
companies. If the addressees are compelled to provide the requested documents that
contain information submitted under the leniency programme, it makes these guarantees
meaningless and could seriously undermine the leniency programme.

For further detail on the Commission's position as regards the disclosure of leniency
information I refer you to a number of publicly available documents, in particular, the
Commission's submissions to various courts in the United States, which deal specifically
with the issue of disclosure or leniency documents in the damage litigation contexe, as
well as the Commission's submission to the US Antitrust Modernization Commission2 .




1
  See Air Cargo Shipping Services Antitrust Litigation, M.D.L. No. 1775 (E.D.N.Y.); re TFT-LCD (Flat
Panel) Antitrust Litigation, No. M: 07-1827 (N.D. Cal. 2011), Special Master's Order Denying Motion of
Direct Purchaser Plaintiffs to Compel Hitachi to Produce Foreign Regulatory Documents, No. M:07-cv-
01827-si (April 26, 2011); Re Vitamins Antitrust Litigation, Misc. No. 99-197, Docket No. 3079 (D.D.C.
May 20, 2002); Re: Methionine Antitrust Litigation, No. C-99-3491, MDL no. 1311 (N.D. Cal. June 17,
2002).
2
 Submission by Director General of DG Competition to Andrew Heimert, Executive Director, Antitrust
Modernization Commission of April 4, 2006, available at


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Settlement related documents

In the course of the Commission's YIRD investigation a number of documents were
exchanged with the Commission in the context of the Commission's settlement procedure
for cartel cases. Without addressing each of these documents specifically, allow me to
make several remarks on the Commission's rules and policy with respect to disclosure of
settlement related submissions in general.

The settlements procedure has been created as an alternative to the normal procedure in
competition cases, in order to optimise the enforcement of anti-cartel rules by freeing up
resources to deal with more cases, thereby increasing the detection rate and the deterrence
of Article 101 TFEU. 3 It allows the Commission to settle a cartel case with the
companies involved under a simplified procedure, whereby companies acknowledge their
involvement in the cartel and their liability for it, after having access to the evidence
against them and the opportunity to express their observations thereon.

In settlement related submissions, companies either indicate their willingness to engage
in a settlement, or, when a formal proposal of settlement ("settlement submission") is
introduced, expressly acknowledge liability for an infringement of Article 101 TFEU.

Disclosure of such submissions to third parties carries the significant risk of negatively
impacting the position of companies that made them. This in tum reduces the incentives
of companies to engage in a settlement, thereby impairing the Commission's ability to
effectively enforce Article 101 TFEU by frustrating the Commission's objective behind
the introduction of the settlement procedure expressed in point 1 of the Settlement
Notice.

To protect the confidentiality of settlement related submissions, the Commission has put
in place a series of rules akin to those safeguarding the confidentiality of leniency
submissions. 4 The Commission's concern over the protection of settlement related
submissions even after a case has been closed is also evidenced by point 40 of the
Settlement Notice dealing with access under public access to documents rules. In the
Commission's view the policy reasoning set out in this provision is equally applicable in
relation to disclosure of settlement related submissions to third parties in other contexts.

Conclusion

In view of the above, the Commission services consider that the disclosure of the
requested documents would impair the effectiveness of the Commission's powers of
investigation.

Accordingly, I would like to request you to keep the Commission services duly informed
of any developments in the above referenced litigation as regards any documents received
from, or exchanged with, the Commission in the context of its YIRD investigation. If
necessary the Commission could wish to have the opportunity to consider taking
whatever action may be warranted to protect its interests as an enforcement authority,



    See point I of the Settlements Notice.
4
    See points 35-38 of the Settlement Notice.

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including presenting its interests and concerns directly to the Court, as it has done before
a number of courts in the United States in the past. 5

Finally, please note that while the Commission services have no objection to the
disclosure of this letter to the Court in the pending litigation mentioned above, this letter
should not be construed as being in support of any particular party in the proceedings. Its
purpose is only to safeguard the interests of the Commission as an enforcement authority.




                                                                       Yours faithfully,




                                                                                                   //
                                                               Eric VAN GINDERACHTFl'l
                                                                        Director               f




    Most recently the Commission services have intervened in the Air Cargo Shipping Services Antitrust
    Litigation, M.D.L. No. 1775 (E.D.N.Y). See also, Commission interventions in (i) re TFT-LCD (Flat
    Panel) Antitrust Litigation, No. M: 07-1827 (N.D. Cal. 2011), Special Master's Order Denying
    Motion of Direct Purchaser Plaintiffs to Compel Hitachi to Produce Foreign Regulatory Documents,
    No. M:07-cv-01827-si (April 26, 2011) (ii) Re Vitamins Antitrust Litigation, Misc. No. 99-197,
    Docket No. 3079 (D.D.C. May 20, 2002); (iii) Re: Methionine Antitrust Litigation, No. C-99-3491,
    MDL no. 1311 (N.D. Cal. June 17, 2002).


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